9/30/2019   Case 1:19-cr-10040-JTF      Document
                             ‘Rock Doc’ Jeff            126-3
                                             Young: The Wild Story ofFiled  10/01/19
                                                                      a Reality TV Wannabe Page
                                                                                           Accused1in of  17 PageID
                                                                                                      Pills-for-Sex Scheme 2367




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                                                          SEX, DRUGS, ROCK 'N ROLL



                     The Wild Story of ‘Rock Doc’
                       Jeﬀ Young, a Reality TV
                      Wannabe Accused in Pills-
                          for-Sex Scheme                                                             JOIN
                                                                                                     EXCLUSIVE CONTENT
                                                                                                     MY ACCOUNT
                                                                                                     LOG OUT



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                             ‘Rock Doc’ Jeff            126-3
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       Photo Illustration by The Daily Beast / Photo Getty




                  Prosecutors say the Tennessee nurse practitioner used his
                   prescription pad to prey on women—and is still working.
                                                                       Steven Hale

                                                               Updated     . .    :       AM ET
                                                               Published    . .       :   PM ET




                                        O
                                                             n the morning of May 7, several days
                                                             after federal prosecutors described
                                                             him as a violent, drug-pushing
                                                             “sexual predator” and a “danger to
                                                             the community,” Tennessee nurse
                                         practitioner Jeff Young posted a messageJOIN
                                                                                  on
                                         Facebook.
                                                                                                     EXCLUSIVE CONTENT
                                         “To clear up any confusion .....” he wrote,
                                                                                                     MY ACCOUNT
                                         attaching image that read, “Yes, we’re open!” The
                                                                                   LOG OUT
                                         post included a link to the page for his Jackson
                                         clinic, GeneXis Health.


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                                        In light of his current legal circumstances, it read
                                        like a defiant taunt. Young is a brash, tattooed 45-
                                        year-old who calls himself the “Rock Doc” and
                                        recently tried to launch a reality show centered on
                                        his practice.

                                        Clips from the failed show still live online. They
                                                                                                     JOIN
                                        feature Young prowling around his clinicEXCLUSIVE
                                                                                 to a     CONTENT
                                        hard rock soundtrack, with ink in full view and
                                                                                                     MY ACCOUNT
                                        rings on several of his fingers. In the pilot
                                                                                 LOG
                                        episode, his nurses refer to him as “Uncle    OUT
                                                                                   Jeff”
                                        and patients speaking glowingly about him. At
                                        one point, he and a friend discuss his haters as
                                        Young—in a sleeveless shirt, sunglasses and hat
                                        cocked to the side—flashes a middle finger at the
                                                                                                                           Support The Daily Bea
                                        camera.
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9/30/2019   Case 1:19-cr-10040-JTF      Document
                             ‘Rock Doc’ Jeff            126-3
                                             Young: The Wild Story ofFiled  10/01/19
                                                                      a Reality TV Wannabe Page
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                                                                                                      Pills-for-Sex Scheme 2370




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                                                                                                       NEWSLETTERS          JOIN     LOG IN
                               The cover photo on Young’s Facebook page
               SHE             features a quote attributed to Motley Crue’s Nikki
            POLITICS ENTERTAINMENT WORLD NEWS HALF FULL CULTURE U.S. NEWS INNOVATION SCOUTED TRAVEL
                                        Sixx: “One day your life will flash before your eyes
                                        —make sure it’s worth watching.” Young was
                                        confident his life would make a good reality show.



                                        And it turns out federal authorities thought he
                                        was worth watching, too.

                                        He was among dozens of doctors, nurses and
                                        pharmacists caught last month in a federal opioid
                                        strike force dragnet. Prosecutors accused him of
                                        using “his power to prescribe controlled
                                        substances to promote his television pilot and his
                                        podcast, and to have sex with women, including
                                        women who were his patients.”

                                        Now they’re so troubled by the fact that Young is
                                        back in the community, and back in business, that
                                        they’ve gone to court seeking to have him put
                                        back in jail pending trial.



                                        ‘ROCK DOC’
                                        Dentist Pulled Teeth So He
                                        Could Prescribe Opioids: Feds
                                        Victoria Albert                                              JOIN
                                                                                                     EXCLUSIVE CONTENT
                                        A new court filing, first reported by The MY ACCOUNT
                                        Tennessean last week, portrays the Rock Doc as a
                                        menacing figure at the intersection of the opioid
                                                                                                     LOG OUT
                                        crisis and the #MeToo movement. The feds say
                                        Young “regularly and cavalierly traded
                                        prescriptions for sex—sometimes even showing
                                        his employees cellphone photos of himself                                          Support The Daily Bea
                                        engaging in sex acts at his Preventagenix clinic
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                                             Young: The Wild Story ofFiled  10/01/19
                                                                      a Reality TV Wannabe Page
                                                                                           Accused5in of  17 PageID
                                                                                                      Pills-for-Sex Scheme 2371
                              engaging in sex acts at his Preventagenix clinic
                                        immediately after the fact.” They also say they
              CHEAETT
                                                                                   NEWSLETTERS                              JOIN     LOG IN


               S HE            obtained a video from Young’s cellphone that
            POLITICS ENTERTAINMENT WORLD NEWS HALF FULL CULTURE U.S. NEWS INNOVATION SCOUTED TRAVEL
                                        shows him “having sex with a nearly unconscious
                                        woman.”


                                                                ADVERTISEMENT




                                        Young has pleaded not guilty to all of the charges
                                        against him—and will fight the feds’ attempt to
                                        lock him up at a detention hearing Monday. His
                                        attorney told The Daily Beast that Young is not a
                                        danger to the community and is seeing patients
                                                                                JOIN
                                        who are “very happy to be treated by him.”

                                                                              EXCLUSIVE
                                        Young was one of 60 medical professionals in six CONTENT
                                        states—including 32 in Tennessee, where rural
                                                                                                     MY ACCOUNT
                                        areas have been hard hit by the opioid crisis—who
                                                                                  LOG OUT
                                        were indicted in April as part of the federal
                                        investigation.


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                                        The Rock Doc, whose clinic and home were
                                        raided by Drug Enforcement Administration
                                        agents in 2017, mostly stands out from the bunch,
                                        though. (Still, his case isn’t entirely unique. An
                                        Alabama doctor also indicted as part of the
                                        crackdown allegedly “recruited prostitutes and
                                        other young women with whom he had sexual
                                        relationships to become patients at his clinic,
                                        while simultaneously allowing them and their
                                        associates to abuse illicit drugs at his house,”
                                        according to a Department of Justice release.)

                                        Aside from charges of using access to drugs to
                                        extract sex from patients, the indictment alleged
                                        that “Young treated patients while intoxicated on
                                        alcohol, marijuana or other controlled
                                        substances, freely prescribed controlled
                                        substances to his friends and family, and
                                        promoted the use of illicit drugs, including
                                        marijuana.”
                                                                                                     JOIN
                                        Additionally, prosecutors say he prescribed
                                                                                                     EXCLUSIVE CONTENT
                                        hydrocodone, oxycodone and alprazolam to a
                                                                             MY ACCOUNT
                                        pregnant woman “for no legitimate medical
                                        purpose” and that the woman’s baby was born
                                                                                                     LOG OUT
                                        “addicted to opioids with Fetal Abstinence
                                        Syndrome.” Over a three-year period, Young
                                        allegedly prescribed approximately 1.4 million
                                        opioid and benzodiazepine pills and 1,500
                                        fentanyl patches, according to the DOJ.                                            Support The Daily Bea

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                                        Following the indictments, a judge released all 60
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                                                                                  NEWSLETTERS                               JOIN     LOG IN

                                        indicted medical professionals on bond. Young
                SHE
            POLITICS ENTERTAINMENT
                               wentWORLD
                                    rightNEWS  HALF
                                          back to   FULL That
                                                  work.   CULTURE U.S. NEWS
                                                               prompted   theINNOVATION
                                                                              feds      SCOUTED TRAVEL

                                        to file a motion asking that Young’s bond be
                                        revoked. The new papers outlined prosecutors’
                                        arguments as to why he allegedly poses a threat to


                                        the community where he’s worked in medicine for
                                        more than 20 years.

                                        A call to his clinic on Friday was returned by one
                                        of his nurses, who said The Daily Beast should
                                        look into the stories of the other medical
                                        professionals charged in the takedown.

                                        “It’s not just him,” said the nurse, who declined to
                                        give her name.


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                                                                                                     JOIN
                                        But prosecutors have described Young asEXCLUSIVE
                                                                                a        CONTENT
                                                                              MY ACCOUNT
                                        standout among the dozens of charged medical
                                        professionals.
                                                                                                     LOG OUT
                                        “Most of these defendants had no prior
                                        encounters with law enforcement; their danger to
                                        the community was arguably tempered by the
                                        magistrate judge’s prescribed conditions, which
                                                                                                                           Support The Daily Bea
                                        tended to include restricting the defendants’
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9/30/2019   Case 1:19-cr-10040-JTF      Document
                             ‘Rock Doc’ Jeff            126-3
                                             Young: The Wild Story ofFiled  10/01/19
                                                                      a Reality TV Wannabe Page
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                                                                                                      Pills-for-Sex Scheme 2374

                              ability to prescribe and dispense the opioids and
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                                                                                                       NEWSLETTERS          JOIN     LOG IN
                               other addictive drugs that the defendants were
               S H E           charged with
            POLITICS ENTERTAINMENT WORLD NEWSillegally  dispensing,”
                                                 HALF FULL           Assistant
                                                            CULTURE U.S.        U.S.
                                                                         NEWS INNOVATION SCOUTED TRAVEL
                                        Attorney Andrew Pennebraker wrote in the recent
                                        filing.


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                                        “If some of the defendants’ danger to the
                                        community was mitigated by those conditions,
                                        Jeff Young’s was not,” he continued. “Even
                                        among other defendants presumed to be
                                        dangerous, Young stands out: he has a
                                        demonstrated history of violence against women,
                                        intimidation and threats, and disregard of judicial
                                        and administrative orders.”




                              He has a demonstrated history
                                of violence against women,                                           JOIN
                                                                                                     EXCLUSIVE CONTENT

                               intimidation and threats, and                                         MY ACCOUNT
                                                                                                     LOG OUT
                                  disregard of judicial and
                                   administrative orders.                                                                  Support The Daily Bea

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                                                                                                      Pills-for-Sex Scheme 2375

                                                     — Prosecutor Andrew Pennebraker

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                                                                                                       NEWSLETTERS          JOIN     LOG IN


               SHE
            POLITICS ENTERTAINMENT WORLD NEWS HALF FULL CULTURE U.S. NEWS INNOVATION SCOUTED TRAVEL
                                        GeneXis Health, one of two clinics Young has
                                        owned in the Jackson area, largely offers cosmetic
                                        services now. His Facebook page is a stream of
                                        promotions for services like lip injections and
                                        vampire facials, a process also known as platelet
                                        rich plasma (PRP) in which plasma is extracted
                                        from a patient’s own blood which is then re-
                                        injected into their face.

                                        He is no longer allowed to prescribe opioids
                                        under the terms of a 2018 settlement with the
                                        Tennessee Board of Nursing—which investigated
                                        him for overprescribing—but he can still
                                        prescribe other addictive drugs like
                                        benzodiazepines. Prosecutors say that in the
                                        weeks since the April 18 indictment he’s
                                        continued to provide those drugs to patients who
                                        have been “doctor shopping” and receiving
                                        opioids from other doctors.

                                        Young’s continued ability to prescribe powerful
                                        drugs like Xanax is the basis of prosecutors’ harsh
                                        criticism of the Tennessee Board of Nursing’s
                                        settlement with him. In arguing for him to be
                                        released on bond, Young and his attorney cited
                                        the settlement—which restricted Young, JOIN
                                                                               but
                                        allowed him to keep his license and continue to
                                                                                                     EXCLUSIVE CONTENT
                                        practice—as sufficient reason for the court to feel
                                        comfortable letting him out of jail. But                     MY ACCOUNT
                                        prosecutors call the board’s order “inexplicable”
                                                                                                     LOG OUT
                                        and “woefully inadequate to address the evidence
                                        the board had before it.”

                                        Tennessee Department of Health spokesperson
                                        Bill Christian told The Daily Beast that the                                       Support The Daily Bea
                                        department, and the Board of Nursing, “acted on
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                                           p              ,                                     g,
                                        admissible evidence available to them in this
               CHEAETT
                                                                                  NEWSLETTERS                               JOIN     LOG IN

                                        case.”
                SHE
            POLITICS ENTERTAINMENT WORLD NEWS HALF FULL CULTURE U.S. NEWS INNOVATION SCOUTED TRAVEL
                                        Christian said he can’t confirm or deny whether
                                        there are any other complaints against Young on
                                        file with the state because complaints against



                                        licensed health professionals are confidential
                                        under state law.

                                        Young’ has his defenders. In a post on his
                                        Facebook page last week, one woman,
                                        commenting on local coverage of the allegations
                                        against him, writes: “You’re going to have to show
                                        me the proof instead of all the quotation marks.
                                        I’ve seen women throw themselves at this man.
                                        Never the other way around. This is nearly
                                        laughable if it were not so damaging to someone.
                                        I’m just going to have to see the proof.”



                                                   The Rock Doc




                                                                                                     JOIN
                                                                                                     EXCLUSIVE CONTENT
                                                                                    MY ACCOUNT
                                        In the pilot for his failed reality show, posted on
                                        YouTube, Young and a close friend hole up in a
                                        makeshift studio to record rap songs that they say
                                                                                                     LOG OUT
                                        are inspired by accusations against him.

                                        “A lot of the content of the lyrics comes from
                                        Jeff’s haters, the rumors that they spread about
                                                                                                                           Support The Daily Bea
                                        him, just the way they talk about him,” Young’s
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                                                                                       Accused    of 17 PageID
                                                                                               in Pills-for-Sex Scheme 2377

                                        pal says. “So we decided to create songs about
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                                                                                                       NEWSLETTERS          JOIN     LOG IN
                               each of these rumors that have been put out there
               S H E           about Jeff.”
            POLITICS ENTERTAINMENT WORLD NEWS HALF FULL CULTURE U.S. NEWS INNOVATION SCOUTED TRAVEL

                                        The prosecution filing sheds light on what some
                                        of those rumors might have been. Pennebraker
                                        writes that Young “has a long history of sexual

                                        harassment, threats, and violence, including
                                        threats to potential witnesses in this case.” Young
                                        —who put his son in the pilot—repeatedly
                                        violated a restraining order prohibiting contact
                                        with his ex-wife, according to the filing. And in
                                        2015, the filing says, “Young posted a naked
                                        picture of his ex-wife on Craigslist and Facebook
                                        and taunted her about it.”

                                        “Several people, including Young’s ex-wife,
                                        former co-workers, and even individuals
                                        associated with the [Board of Nursing], have
                                        reported being verbally threatened by Young,”
                                        Pennebraker wrote, adding that “still more have
                                        reported being threatened by his affiliates on his
                                        behalf.”

                                        The filing also cites a 2016 investigation by the
                                        Jackson Police Department into a rape that
                                        allegedly occurred at Young’s home. But the
                                                                               JOIN
                                        department told The Daily Beast that while Young
                                        was listed as someone present at the gathering
                                                                                                     EXCLUSIVE CONTENT
                                        when the rape allegedly occurred, he is not
                                                                                MY ACCOUNT
                                        considered a suspect in the ongoing investigation.

                                                                                                     LOG OUT


                            Adults do stupid things in the
                           middleofdivorces thatshouldn’t
                                                                                                                           Support The Daily Bea

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                           middle of divorces that shouldnt
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               SHE
                               be used in later dates to
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                              determine whether or not
                                          they’re a danger to the
                                                community.
                                                  — Defense attorney Claiborne Ferguson



                                        Young’s attorney, Claiborne Ferguson, told The
                                        Daily Beast that he and his client “dispute the
                                        majority of the facts contained within that
                                        document.”

                                        “There are obviously things that he’s done
                                        through the course of his divorce... adults do
                                        stupid things in the middle of divorces that
                                        shouldn’t be used in later dates to determine
                                        whether or not they’re a danger to the
                                        community,” Ferguson said. “However, we don’t
                                        believe that he is a danger to the community. He
                                                                                   JOIN
                                        still maintains an active practice, with active
                                        clients who are very happy and very pleased with
                                                                                                     EXCLUSIVE CONTENT
                                        his services and very happy to be treated by him.”
                                                                                                     MY ACCOUNT
                                        Ferguson declined to discuss specific allegations
                                        “Due to the sensitive nature of many of those
                                                                                                     LOG OUT
                                        issues and, obviously, my deference to the court.”

                                        Meanwhile, on his Facebook page, Young is
                                        promoting a host of Mother’s Day specials like
                                                                                                                           Support The Daily Bea
                                        PRP hair restoration, stretch mark removal and
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                                                   the vampire breast lift.
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                                                                                                  MATT WILSTEIN




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      About Trump and Ukraine                                                                     We’re Screwed if We Republicans Can’t
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                                                                                                  Trading Charges
      appearance, so far.                                                                         JUSTIN MILLER

      Erin Banco National Security Reporter
      Asawin Suebsaeng White House Reporter
      Updated     .       .       :       PM ET
      Published       .       .       :    PM ET


                                                                                                     JOIN
                                                                                                     EXCLUSIVE CONTENT
                          The House Intelligence Committee said                                      MY ACCOUNT
                          Monday that it had subpoenaed Rudy
                                                                                                     LOG OUT
                          Giuliani for documents related to his
                          work in Ukraine—a major step in the
                          investigation into efforts by President

                          Donald Trump and his personal
                          attorney that involved digging up dirt in                                                        Support The Daily Bea
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                    Ukraine on 2020 Democratic

              CHEAETT
                    presidential candidate Joe Biden.                                                  NEWSLETTERS          JOIN     LOG IN


               SHETheENTERTAINMENT
            POLITICS  subpoena is part of anNEWS
                                    WORLD    investigation
                                                  HALF FULL CULTURE U.S. NEWS INNOVATION SCOUTED TRAVEL
                    by the House Foreign Affairs,
                    Intelligence and Oversight committees
                    into Trump and Giuliani’s
                    communications with Ukrainian
                    President Volodomyr Zelensky and his
                    advisors. The congressional committees
                    also sent letters to three Giuliani
                    associates involved in his Ukraine work
                    asking them to hand over documents
                    and appear for depositions next month.

                    For roughly a year, Giuliani sought to
                    elicit information from Ukrainians on
                    possible origins of the Mueller
                    investigation, as well as on Biden’s son,
                    Hunter, and his role on the board of
                    directors of a major gas company.
                    Giuliani said that in recent months the
                    State Department helped him get in
                    touch with Zelensky administration
                    officials.

                    Giuliani and Trump were both subjects
                    of a whistleblower complaint filed
                    August 12 which outlined some of the
                    ways they asked Ukrainians to
                    investigate the Bidens.                                                          JOIN
                    Since the complaint became public last                                           EXCLUSIVE CONTENT
                    week, Giuliani has appeared on
                                                                                                     MY ACCOUNT
                    multiple television shows to defend his
                    work regarding Ukraine and underline                                             LOG OUT
                    his communication with State
                    Department officials about his efforts.


                    “In addition to this stark admission,
                    you stated more recently that you are in                                                               Support The Daily Bea
                    possession of evidence in the form of
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9/30/2019 Case 1:19-cr-10040-JTF
                           ‘Rock Doc’Document
                                     Jeff Young: The126-3
                                                    Wild Story Filed   10/01/19
                                                               of a Reality TV WannabePage   15
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                    possession of evidence—in the form of

                   Ttext messages, phone records, and other
              CHEAcommunications—indicating
                                                                                                       NEWSLETTERS          JOIN     LOG IN


               S HEET                       that you
            POLITICS ENTERTAINMENT WORLD NEWS HALF FULL CULTURE U.S. NEWS INNOVATION SCOUTED TRAVEL
                    were not acting alone and that other
                    Trump Administration officials may
                    have been involved in this scheme,”
                    Rep. Eliot Engel, chairman of the
                    House Foreign Affairs committee, wrote
                    in a letter to Giuliani. Engel requested
                    Giuliani produce the records no later
                    than October 15.

                    The Trump lawyer did not immediately
                    respond to a request for comment on
                    this story.

                    But Giuliani previously told The Daily
                    Beast he would not be willing to appear
                    for questioning on Capitol Hill, and has
                    repeatedly accused Democratic
                    lawmakers and committee chairs of
                    being “corrupt” and operating in bad
                    faith. And Democrats worry Giuliani
                    appearing publicly could hinder the
                    impeachment inquiry by turning the
                    hearing into a spectacle.

                    Even before this probe was launched,
                    whenever the topic of document
                    subpoenas from the Democratic House
                    majority came up, the Trump attorney                                             JOIN
                    and former New York mayor typically
                                                                                                     EXCLUSIVE CONTENT
                    reacted in a hostile manner. “If they
                    want to come after me, I gladly accept                                           MY ACCOUNT
                    it, because we could just make the
                                                                                                     LOG OUT
                    Biden stuff bigger news,” Giuliani told
                    The Daily Beast in early June—when
                    congressional Democrats had begun

                    discussing opening a probe into
                    Giuliani’s overseas work. “Do it! … I                                                                  Support The Daily Bea

                    think it’d be a fun fight ”
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9/30/2019 Case 1:19-cr-10040-JTF
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                    think it d be a fun fight.

                    T
              CHEAThroughout    this whole saga, Giuliani
                                                                                                       NEWSLETTERS          JOIN     LOG IN


                H E E T
               S hasENTERTAINMENT
            POLITICS    done his Ukraine andNEWS
                                      WORLD  Biden HALF
                                                    workFULL CULTURE U.S. NEWS INNOVATION SCOUTED TRAVEL
                    with the explicit blessing from his
                    client, President Trump. In fact, the
                    president was so into it that he even
                    made a specific point of privately
                    instructing Giuliani to keep doing more
                    TV interviews and cable news hits on
                    the topic, so that Trumpworld could
                    train as much media attention as
                    possible on the Bidens.

                    In the time since all of this broke, the
                    president, the Republican National
                    Committee, the Trump reelection
                    campaign, numerous GOP allies on
                    Capitol Hill, and various other major
                    organs of the party have rallied in
                    Giuliani’s defense and to his cause.
                    Democrats, meanwhile, have started
                    the single biggest impeachment push of
                    the Trump era thus far.

                    Giuliani is just the latest Trump advisor
                    to hear from the committees. Last week,
                    the three congressional panels
                    subpoenaed Secretary of State Mike
                    Pompeo for related documents and
                    announced depositions for five current                                           JOIN
                    and former State employees, including
                                                                                                     EXCLUSIVE CONTENT
                    Kurt Volker, the former U.S.
                    representative for Ukraine negotiations                                          MY ACCOUNT
                    who resigned from his post Friday.
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